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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                NORTHERN DIVISION


ANNIE MAKI,
                                      CASE NO. 20-12890
             Plaintiff,               DISTRICT JUDGE THOMAS L. LUDINGTON
                                      MAGISTRATE JUDGE PATRICIA T. MORRIS
v.

DONALD TRUMP, CHAD WOLF,
OFFICE OF THE DIRECTOR OF
INTELLIGENCE, CENTRAL
INTELLIGENCE AGENCY, DEPARTMENT
OF JUSTICE, and FEDERAL BUREAU
OF INVESTIGATION,

             Defendants.
                                       /

                           REPORT AND RECOMMENDATION

I.     RECOMMENDATION

       Because I conclude that Plaintiff’s claims are outside this Court’s jurisdiction and

frivolous, I RECOMMEND that the case be sua sponte DISMISSED.

II.    REPORT

       A.    FACTUAL BACKGROUND

       Pro se Plaintiff Annie Maki filed the instant complaint on December 1, 2020. (ECF No.

1.) She provides the following “summary” in her complaint: “Donald J. Trump and members of

his administration including the heads of intelligence agencies, have engaged in the

weaponization of the classification system to cover up criminal activity, have engaged in

disregard for the law pertaining to the Acting Secretary of DHS position, have engaged in

Seditious Conspiracy, and have engaged in conspiracy to violate my rights under color of law
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leading to the withholding of documents that I believe I am entitled to under FOIA.” (ECF No.

1, PageID.5.) Plaintiff contends that “[w]hen the Government Accountability Office found that

Chad Wolf’s succession and assumption of the Acting Secretary of DHS role was never valid,

the 210 day term limit for a serving acting officer had already been exceeded in violation of

U.S.C. § 3346(a)(1), meaning that even if his role as Acting Secretary had ever been valid and

in compliance with the law to start with, he was illegally occupying that role in further violation

of the law in excess of the 210 day limit.” (ECF No. 1, PageID.9.)

       Plaintiff cites to Article II of the United States Constitution and 5 U.S.C. § 3345 regarding

executive powers and duties and “presume[s] that Donald John Trump has been aware that Chad

Wolf has not been serving legally in the role of Acting Secretary of DHS at least since the GAO

rendered their decision of August 14, 2020, and I assert that I believe that he has a responsibility

and duty to have knowledge and awareness of this matter as well as the requirements under 5

U.S.C. § 3345 and § 3346, but has willfully exercised disregard for the law.” (ECF No. 1,

PageID.11.)

       Plaintiff “assert[s] that I have reason to believe that I have been under a protective detail

that I believe is linked to active military Armed Forces since at least October of 2018, and that

the waiver for the duty to inform me about threats against my life, any attempts to take my life,

of which there have been numerous of over the course of the past two years, and a broad

assortment of related matters, are classified to cover up gross criminality and for purposes of

plausible deniability, some of it classified in violation of the law and my rights, as I have never

consented or contracted to these circumstances, that a vast number of individuals within the

government and this administration and elsewhere are aware of these circumstances, and that


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these circumstances against me were initiated by activity relating to controversial public

pseudonymous posts made as ‘Q’ by Senior Advisor to the President Stephen Miller.” (ECF No.

1, PageID.11-12.) Plaintiff further avers that “I believe that my life, skillset, and capabilities,

were leveraged under duress in part to be used as assassin bait, under dehumanizing

circumstances which could be characterized as Forced Labor under 18 U.S.C. § 1589(a)(4) with

the implicit understanding that my protective detail could be withdrawn should my usefulness

or cooperation expire.” (ECF No. 1, PageID.12.)

       Plaintiff seeks injunctive relief to take “hired assassins” and “operatives linked to the

CIA’s Special Activities Center” into custody and that her protective detail not be withdrawn.

(Id.) Plaintiff also contends that “Ivanka Trump and Jared Kushner may have knowledge of and

involvement with the attempts against my life, [and] are partially motivated by retaliation in

order to silence my efforts to bring greater awareness of past allegations relating to cases against

Jeffrey Epstein and Ghislaine Maxwell, pertaining to Donald Trump’s ex-wife Ivana Trump’s

alleged activity in accompanying Ghislaine Maxwell in Palm Beach to procure underaged girls

for Jeffrey Epstein.” (ECF No. 1, PageID.13.) Plaintiff also avers “I believe Ivana Trump and

Jared Kushner may be working as operatives for Israel.” (Id.) Plaintiff continues to name

persons, including the named Defendants and other who she believes have been involved in a

“Seditious Conspiracy violation of 18 U.S.C. § 2384 to attempt to uphold Chad Wolf’s illegal

occupation of the Acting Secretary of DHS role…” (ECF No. 1, PageID.13.)

       Plaintiff also complains that her “life and rights remain under threat” because of the

“Department of Justice Office of Information Policy’s refusal to grant expedition of and failure

thus far to respond to my FOIA appeal[s.]” (ECF No. 1, PageID.13-14.)


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       In the relief section, Plaintiff asks for “suitable parties to be placed under full criminal

investigation[,]” for the Court to “issue a statement on whether or not Chad Wolf is acting as the

Acting Secretary of DHS in a legal manner,” to issue injunctions “against Chad Wolf’s

nomination” and to “cease any ongoing violations of the law as relevant to this complaint” and

to “prevent the destruction of any and all classified documents relating to any of the matters

relevant to this complaint” and to “order the CIA, DNI, FBU, and DOJ to comprehensively

review all classified documents pertaining to this complaint by means that discludes any parties

that may be incriminated within those documents, or any individuals listed in this complaint”

and to “order the CIA, DNI, FBI, and DOJ to modify any documents pertaining to me…to reflect

that I have in no way voluntarily consented to or contracted with the government…” (ECF No.

1, PageID.15-16.) She also asks the court to “order the ODNI, FBI, and DOJ to issue responses

to my FOIA requests” and to “issue injunctions to the DNI, FBI, CIA, and DOJ, for the

downgrading or declassification of any matters relevant to this complain[t.]” (ECF No. 1,

PageID.17.)

       B.     LEGAL BACKGROUND

       In the instant case, Plaintiff paid the filing fee and did not seek to proceed in forma

pauperis (IFP); therefore, the complaint will not be screened under 28 U.S.C. § 1915(e)(2)(B).

However, federal courts are under an independent obligation to examine their own jurisdiction.

U.S. v. Hays, 515 U.S. 737, 742 (1995). Rule 12(h)(3) of the Federal Rules of Civil Procedure

provides that, if a court “determines at any time that it lacks subject-matter jurisdiction, the court

must dismiss the action.” Fed. R. Civ. P. 12(h)(3).




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       There are two ways this Court can obtain subject matter jurisdiction: first, the United

States Code provides that “[t]he district courts shall have original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. This

statute confers on the federal district courts what is known as “federal question jurisdiction.”

Second, pursuant to 28 U.S.C. § 1332, diversity jurisdiction arises when the matter is between

citizens of different states and the amount in controversy exceeds $75,000. Dismissal sua sponte

for lack of subject matter jurisdiction is appropriate where a complaint’s allegations are “totally

implausible, attenuated, unsubstantial, frivolous, devoid of merit, or no longer open to

discussion.” Hagans v. Lavine, 415 U.S. 528, 536–37 (1974); Apple v. Glenn, 183 F.3d 477, 479

(6th Cir.1999) (same).

       The Supreme Court has established that “a complaint . . . is frivolous where it lacks an

arguable basis either in law or in fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989). A

complaint is also frivolous and can be dismissed if it provides no basis for federal jurisdiction.

Carlock v. Williams, 182 F.3d 916, 1999 WL 454880, at *2 (6th Cir. 1999) (“Since there is no

basis for federal jurisdiction apparent on the face of Carlock's complaint . . . the district court

properly dismissed the action as frivolous and for lack of subject matter jurisdiction. See 28

U.S.C.A. § 1915(e)(2)(B)(i) (West 1998); Fed.R.Civ.P. 12(h)(3).”); Humphries v. Various Fed.

USINS Employees, 164 F.3d 936, 941 (5th Cir. 1999) (citing caselaw for the proposition that a

complaint is frivolous and can be dismissed on screening if the subject matter is outside the

court’s jurisdiction). In addition to the screening statute, Carlock also cited Fed.R.Civ.P.

12(h)(3), which states that “[i]f the court determines at any time that it lacks subject-matter

jurisdiction, the court must dismiss the action.”


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        C.     ANALYSIS

         Here, Plaintiff has sued persons or entities who are immune from suit. “Absent a waiver,

sovereign immunity shields the Federal Government and its agencies from suit.” F.D.I.C. v.

Meyer, 510 U.S. 471, 475 (1994). The President is entitled to absolute immunity from suit.

Harlow v. Fitzgerald, 457 U.S. 800, 807 (1982). In addition, directors and heads of agencies are

also immune from suit. Asbury v. Obama, 2018 WL 770185, at * 2 (W.D. Ark. Feb. 7,

2018)(heads of the DEA and FBI immune from suit). “The sovereign immunity of the United

States may only be waived by a federal statute” and no such statute has been cited here. F.D.I.C.,

510 U.S. at 475.

        I therefore conclude that dismissal for lack of subject matter jurisdiction is appropriate

because all of the Defendant are immune from suit, rendering the complaint frivolous. I also

suggest that even if the Defendants are not immune, dismissal of the Complaint is proper because

the complaint’s allegations are “totally implausible, attenuated, unsubstantial, frivolous, devoid

of merit, or no longer open to discussion.” Hagans, 415 U.S. at 536–37; Apple v. Glenn, 183

F.3d at 479.

III.    CONCLUSION

        For these reasons, I recommend that this case be sua sponte DISMISSED.

IV.     REVIEW

        Rule 72(b)(2) of the Federal Rules of Civil Procedure states that “[w]ithin 14 days after

being served with a copy of the recommended disposition, a party may serve and file specific

written objections to the proposed findings and recommendations. A party may respond to

another party’s objections within 14 days after being served with a copy.” Fed. R. Civ. P.


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72(b)(2); see also 28 U.S.C. § 636(b)(1). Failure to file specific objections constitutes a waiver

of any further right of appeal. Thomas v. Arn, 474 U.S. 140, 155; Howard v. Sec’y of Health &

Human Servs., 932 F.2d 505, 508 (6th Cir. 1991); United States v. Walters, 638 F.2d 947, 950

(6th Cir. 1981). The parties are advised that making some objections, but failing to raise others,

will not preserve all the objections a party may have to this Report and Recommendation. Willis

v. Sec’y of Health & Human Servs., 931 F.2d 390, 401 (6th Cir. 1991); Smith v. Detroit Fed’n

of Teachers Local 231, 829 F.2d 1370, 1373 (6th Cir. 1987). According to E.D. Mich. LR

72.1(d)(2), a copy of any objections is to be served upon this magistrate judge.

       Any objections must be labeled as “Objection No. 1,” “Objection No. 2,” etc. Any

objection must recite precisely the provision of this Report and Recommendation to which it

pertains. Not later than 14 days after service of an objection, the opposing party may file a

concise response proportionate to the objections in length and complexity. Fed. R. Civ. P.

72(b)(2); E.D. Mich. LR 72.1(d). The response must specifically address each issue raised in the

objections, in the same order, and labeled as “Response to Objection No. 1,” “Response to

Objection No. 2,” etc. If the Court determines that any objections are without merit, it may rule

without awaiting the response.

Date: January 7, 2021                               s/ Patricia T. Morris
                                                    Patricia T. Morris
                                                    United States Magistrate Judge




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